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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )
                                          )            Case No. MJ07-157
10         v.                             )
                                          )
11   JUAN MARTINEZ-MESA,                  )            DETENTION ORDER
                                          )
12               Defendant.               )
     ____________________________________ )
13

14 Offense charged:

15          Count 1: Possession with Intent to Distribute Marijuana in violation of 21 U.S.C. §§

16 841(a)(1), 841(b)(1)(C), and 18 U.S.C. § 2.

17 Date of Detention Hearing:      March 30, 2007.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 the following:

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)     The Court and defendant have been advised that a detainer has been placed on

23 defendant by Immigration and Customs Enforcement.

24          (2)     Defendant has stipulated to detention, but reserves the right to contest his

25 continued detention if there is a change in circumstances.

26          (3)     There appear to be no conditions or combination of conditions that will

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 reasonably assure the defendant’s appearance at future Court hearings.

02         IT IS THEREFORE ORDERED:

03         (1)     Defendant shall be detained pending trial and committed to the custody of the

04                 Attorney General for confinement in a corrections facility separate, to the extent

05                 practicable, from persons awaiting or serving sentences or being held in custody

06                 pending appeal;

07         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

08                 counsel;

09         (3)     On order of a court of the United States or on request of an attorney for the

10                 Government, the person in charge of the corrections facility in which defendant

11                 is confined shall deliver the defendant to a United States Marshal for the purpose

12                 of an appearance in connection with a court proceeding; and

13         (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

14                 counsel for the defendant, to the United States Marshal, and to the United States

15                 Pretrial Services Officer.

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                                                         A
                   DATED this 30th day of March, 2007.
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18                                                       JAMES P. DONOHUE
                                                         United States Magistrate Judge
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     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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